          Case 1:04-cv-10981-PBS Document 1713 Filed 03/12/09 Page 1 of 19




                                       UNITED STATES DISTRICT COURT
                                        DISTRICT OF MASSACHUSETTS
- - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - -x
                                                                                             :   MDL Docket No. 1629
In re: NEURONTIN MARKETING, SALES                                                            :
          PRACTICES AND PRODUCTS                                                             :   Master File No. 04-10981
          LIABILITY LITIGATION                                                               :
- - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - -x   Judge Patti B. Saris
                                                                                             :
THIS DOCUMENT RELATES TO:                                                                    :   Magistrate Judge Leo T.
                                                                                             :   Sorokin
          Smith v. Pfizer Inc., et al., 1:05-cv-11515-PBS                                    :
                                                                                             :
                                                                                             :
                                                                                             :
- - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - -x

     DEFENDANTS’ REPLY MEMORANDUM IN SUPPORT OF PFIZER INC. AND
    WARNER-LAMBERT COMPANY LLC’S MOTION TO EXCLUDE THE SPECIFIC
     CAUSATION TESTIMONY OF DOCTOR MARIS AND PROFESSOR TRIMBLE

          Defendants, Pfizer Inc. and Warner-Lambert Company LLC (“defendants”), respectfully

submit this reply memorandum in support of their motion to exclude the specific causation

testimony of Doctor Maris and Professor Trimble.


                                          PRELIMINARY STATEMENT

          Under Daubert and Rule 702, the Court must scrutinize the reliability of plaintiff’s

experts’ methods, as well as the reliability of their application of those methods to the facts of

this case.1       Plaintiff concedes that her experts did not conduct a methodologically proper

differential diagnosis (as Dr. Maris has repeatedly admitted), in that they have not ruled out

1
  Plaintiff’s contention that the field of behavioral science is “soft science,” not subject to Daubert, and that her
expert’s testimony should be admitted merely because she believes they are qualified is misplaced. Setting aside
that psychiatry is a medical science, and qualified psychiatrists with expertise in suicide do not agree with plaintiff’s
unsupported characterization of it as “soft,” Daubert is a threshold requirement for all expert testimony for
reliability and admissibility. Whether an expert is qualified is a separate inquiry. See generally Braun v. Lorillard,
Inc., 84 F.3d 230, 235 (7th Cir. 1996) (Daubert is aimed at abuse: “That abuse is the hiring of reputable scientists,
impressively credentialed, to testify for a fee to propositions that they have not arrived at through the methods that
they use when they are doing their regular professional work rather than being paid to give an opinion helpful to one
side of a lawsuit.”).



                                                               -1-
        Case 1:04-cv-10981-PBS Document 1713 Filed 03/12/09 Page 2 of 19




alternative risk factors as causes of Mr. Smith’s suicide, and that, therefore, their opinions rest

exclusively on temporality (post hoc ergo propter hoc) and subjective belief.                            This

“methodology” for specific causation is insufficient under Daubert and Rule 702, and warrants

exclusion of their specific causation opinions.


                                               ARGUMENT

I.      PLAINTIFF’S EXPERTS EITHER ADMIT THAT THEY DID NOT CONDUCT A
        DIFFERENTIAL DIAGNOSIS, OR MISAPPLIED THE METHOD BY FAILING
        TO RULE OUT ALTERNATIVE CAUSES

        A.       Dr. Maris Admitted He Has Not Conducted A Differential Diagnosis.

        As an initial matter, Dr. Maris testified that he does not ascribe to, and did not use,

differential diagnosis as a methodology in this case. McGroder Decl., Ex. 1 at 1253:4-23 (“First

of all, I don't have the same model that you are assuming, which is the differential diagnosis

model, where you rule out alternatives. My theory is, as you know, is that I rule them in, and I

talk about them actually contributing to make [him] part of a vulnerable minority of patients. . . .

So I am not ruling these things out. I never tried to rule them out.”). Notwithstanding this

unequivocal testimony, plaintiff and Dr. Maris attempt to rewrite the record in a belatedly

submitted declaration, and now insist—in spite of his numerous admissions to the contrary2—

that Dr. Maris conducted a differential diagnosis ruling out Mr. Smith’s alternative suicide risk

factors. It is clear, based on Dr. Maris’ testimony under oath, that he made no effort to rule out

alternative causes, but instead, “embraced them” as part of his method.                      This approach

unmistakably is not differential diagnosis.


        B.       Professor Trimble Failed to Even “Rule In” Numerous Suicide Risk Factors
                 or Adequately Investigate Facts Bearing On Mr. Smith’s Suicide Risk.

2
  Defendants have concurrently filed a motion to strike plaintiff’s experts’ untimely and improper declarations
attempting to fix flaws in the methodologies.


                                                     -2-
         Case 1:04-cv-10981-PBS Document 1713 Filed 03/12/09 Page 3 of 19




        Unlike Dr. Maris, Professor Trimble claims to have conducted a differential diagnosis.

He did not, however, conduct it properly. This methodology requires plaintiff’s experts to “rule

in” all potential causes or risk factors for Mr. Smith’s suicide. Def. Br. at 4−5; Id. at 15−16. In

assessing a causal relationship, an expert must not exclude relevant evidence, and should obtain

information “to minimize the likelihood of a false conclusion.” Miller v. Pfizer, 196 F. Supp. 2d

1062, 1086 (D. Kan. 2002). First, Professor Trimble did not “rule in” or even consider all of Mr.

Smith’s suicide risk factors. Second, Professor Trimble failed to review and understand all the

available evidence regarding Mr. Smith’s suicide risk factors, infecting his analysis with

mistakes and rendering his methodology even less reliable.


        As an initial matter, Professor Trimble did not identify in his report numerous

scientifically reliable and generally accepted suicide risk factors as risk factors for Mr. Smith—

contrary to the standard for conducting a reliable differential diagnosis. Def. Br. at 16. Instead,

and without any scientific basis, Professor Trimble picked what he called his “top four risk

factors for suicide,” a fact that plaintiff apparently misunderstands as demonstrating reliability of

Professor Trimble’s opinions. Pl. Opp. at 19. But, in focusing on his own “top four risk factors,”

such as, inter alia, “living alone,” Professor Trimble either overlooked or discarded risk factors

that he later admitted are not only more commonly associated with suicide on the basis of

epidemiological        data—including          suicidal      ideation;     hopelessness;        chronic      pain;

depression; functional limitations; difficulty coping; recent stressful life event; being an elderly

white male; and access to firearms—but are also more relevant to the facts of the Smith case. See

Def. Br. at 16 (risk factors not ruled in); McGroder Decl., Ex. 3 at 530:12−531:12.3 The fact that


3
  Plaintiffs asserts that Professor Trimble “considered” other risk factors besides those in his report, Pl. Opp. at
16−19. While it is true that Professor Trimble produced notes in his deposition that recorded him going through the
risk factors properly identified by defense experts, Drs. Jacobs and Rothschild, that process occurred “coming over


                                                       -3-
         Case 1:04-cv-10981-PBS Document 1713 Filed 03/12/09 Page 4 of 19




Professor Trimble selected four factors without any scientific (or factual) basis—disregarding a

host of other more relevant risk factors—is not surprising given his inexpertise on suicide in the

United States.4 Def. Br. at 18−20. Nonetheless, Professor Trimble’s selection of his “top four”

factors to the exclusion of more common suicide and generally accepted risk factors

demonstrates that he did not conduct a reliable differential diagnosis, as he clearly did not “rule

in” all potential causes, let alone those that are most pertinent to Mr. Smith.


         Not only did Professor Trimble disregard numerous relevant suicide risk factors for Mr.

Smith, but he ignored pertinent facts. Def. Br. at 16. For instance, Professor Trimble dismissed

as irrelevant the fact that Mr. Smith was no longer a candidate for additional surgery; that Mr.

Smith’s daughter had cancer; and that Mr. Smith never received a psychiatric evaluation as his

doctors recommended. Id. Even worse, Professor Trimble was unaware of key facts bearing on

Mr. Smith’s suicide risk until he was informed of them by defense counsel during his deposition.

For instance, Professor Trimble denied that Mr. Smith had any pre-existing psychiatric history or

depression, testifying that Mr. Smith was only depressed “in the lay sense.” Def. Br. at 17-18; Pl.

Opp. Br. at 15, 16 n.16, 17. During his deposition, however, he became aware for the first time


on the airplane; [t]he weekend [before his deposition],” and after he formed his expert opinions and wrote his report.
McGroder Decl., Ex. 3 at 202:2−204:18 (Q. . . .Did you do this analysis before you authored your report in this case,
or are you just doing this now, just right now at this deposition? A. I’m doing this analysis specifically to answer
your questions for this deposition.”). When Professor Trimble was asked to clarify the role of those notes in his
deposition, he stated that his differential diagnosis is as set forth in his report and nothing else. Id. at 527:21−528:18.
4
  Defendants note that plaintiff’s response focuses on Professor Trimble’s qualifications generally, Pl. Opp. Br. at
13−14, by arguing for instance that he serves on peer review committees in the United States, whereas defendants
more narrowly challenge his qualifications and knowledge regarding suicidology in the United States. For example,
despite the fact that Mr. Smith was diagnosed and treated in the United States, Professor Trimble discredits the APA
Guidelines on Suicide Assessment: “these are not set out in tablets of stone,” McGroder Decl., Ex. 3 at 216:12−13,
and states that he does not use the APA Guidelines in his practice. Id. at 153:11−13. Professor Trimble also does
not use, and expresses disdain for, standard American diagnostic tools in psychiatry. He testified that the DSM IV is
a “cookbook,” which he “prefers not” to use. Id. at 156:22−14 (“In the United Kingdom they do not rely on an
American diagnostic manual.”). Importantly, Professor Trimble’s rejection of accepted methodology for suicide
assessment in the United States is reflected in his failure to apply accepted methodology for his work on this case.



                                                          -4-
       Case 1:04-cv-10981-PBS Document 1713 Filed 03/12/09 Page 5 of 19




that Mr. Smith had been diagnosed with depression before he ever took Neurontin, and was

prescribed an anti-depressant (Lexapro). Def. Br. at 17. After requesting a break to look up

Lexapro—because he thought it was an analgesic—he admitted that, indeed, Mr. Smith had been

treated for depression. Id. Professor Trimble also opined that physical therapy relieved Mr.

Smith’s pain, allowing him to discount or eliminate pain as a risk factor for his suicide. Id. At his

deposition, it became clear that Professor Trimble did not know that Mr. Smith’s pain relief from

physical therapy was temporary and short lived, apparently having misread or misunderstood the

relevant medical records. Id. Whether due to his failure to fully investigate Mr. Smith’s prior

suicide risk factors, or his lack of expertise in suicidology in the United States, Professor

Trimble’s methods in this case fall far short of a reliable differential diagnosis and require

exclusion of his testimony. See, e.g., Cloud v. Pfizer, 198 F. Supp. 2d 1118, 1135-37 (D. Ariz.

2001) (excluding expert’s specific causation opinion as unreliable where there was evidence the

expert came to a firm conclusion before a full review of the records, making his opinion

susceptible to error); Miller, 196 F. Supp. 2d at 1082 (excluding expert’s specific causation

opinion as unreliable where the expert had dismissed evidence that, if considered, would have

tended to falsify his hypothesis).


       Plaintiff’s opposition focuses on Professor Trimble’s deposition testimony where he

attempted to rehabilitate his obviously flawed differential diagnosis. But plaintiff has ignored

that Professor Trimble substantially modified his original opinions during his deposition based

on facts he was just then learning for the first time, as demonstrated above. (This was prevalent

in the depositions of all of plaintiffs’ expert witnesses, some of whom, like Dr. Maris, felt free to

simply revise their Rule 26 reports during the deposition to correct their mistakes and

misunderstanding of the factual record.) This approach can hardly be considered a scientifically



                                                -5-
         Case 1:04-cv-10981-PBS Document 1713 Filed 03/12/09 Page 6 of 19




reliable methodology, since the newly learned risk factors were considered and ruled out in the

same breath, and only after Professor Trimble’s conclusions were already reached. See Def. Br.

at 17. Professor Trimble’s ad hoc attempt to simultaneously consider and rule out key risk

factors during his deposition (heavily relied upon by plaintiff in her arguments, e.g., Pl. Opp. Br.

at 18) shows only that he held pre-ordained conclusions, another independent basis for his

exclusion. See Cloud, 198 F. Supp. 2d at 1135; Claar v. Burlington N.R.R., 29 F.3d 499, 502−05

(9th Cir. 1994).


        C.       Plaintiff’s Experts Are Required to, But Did Not, Rule Out Numerous Risk
                 Factors for Suicide that Fully Explain Mr. Smith’s Suicide.

        To the extent Professor Trimble considered any relevant alternative causes of Mr.

Smith’s suicide, he failed to rule them out. Dr. Maris’ methodology suffers from the same

flaw—a fact plaintiff admits. Pl. Opp. Br. at 8−10. For instance, Professor Trimble admits that

he could not rule out a number of Mr. Smith’s pre-existing suicide risk factors, including his

despair, hopelessness, and unrelenting chronic pain.5 Def. Br. at 18. He additionally testified that

depression is a “possible additional factor” that he is “ambivalent about” and apparently did not

ultimately rule out. Id. Dr. Maris goes so far as to opine that Mr. Smith probably would not have

killed himself but for his chronic pain. Def. Br. at 6 ("Q. If Richard Smith had not been suffering

from excruciating chronic pain, would he still have committed suicide? A. Probably not.").

Plaintiff’s experts’ admitted failure to rule out known suicide risk factors that fully explain Mr.

Smith’s suicide—and, in particular, their failure to rule out chronic pain, which Mr. Smith




5
  Contrary to the well-established literature and empirical data—which plaintiff’s expert Dr. Maris acknowledged,
McGroder Decl., Ex. 1 at 302:16-304:10—Professor Trimble was not aware that chronic pain is a risk factor for
suicide and, when asked about it, repeatedly chorused: “I have said again and again that, in and of itself, chronic
pain does not predict suicide.” E.g., McGroder Decl., Ex. 3 at 455:5−10.



                                                       -6-
         Case 1:04-cv-10981-PBS Document 1713 Filed 03/12/09 Page 7 of 19




himself clearly stated in his suicide note was the reason for his decision to commit suicide—

renders their opinions unreliable.

         Nor does plaintiff’s suggestion that her experts need not rule out alternative causes fix the

obvious defects in her experts’ methodologies. Contrary to plaintiff’s assertions, and ignoring

overwhelming precedent, Pl. Opp. Br. at 8−10, the differential diagnosis method follows

generally accepted and scientifically reliable standards, among which is the requirement that an

expert rule out alternative potential causes. See Rutigliano v. Valley Bus. Forms, 929 F. Supp.

779, 786 (D.N.J. 1996). Indeed, the Daubert decision was based, in part, on the expert’s failure

to “explain how . . . he was able to eliminate all other potential causes of [the] birth defects.”

Daubert v. Merrell Dow Pharms., Inc., 43 F.3d 1311, 1319 (9th Cir. 1995).6


         And, plaintiff’s argument is belied by the very case law she cites. For instance, plaintiff

cites Baker v. Dalkon Shield, 156 F.3d 248, 253 (1st Cir. 1998), Pl. Opp. Br. at 10 n.11, but the

expert in Baker worked by “narrowing the more likely causes until the most likely culprit [was]

isolated.” Id. Plaintiff, conversely, insists that her experts have not (and need not) rule out

alternative causes, nor do her experts testify that Neurontin was the most likely cause of Mr.


6
  Plaintiff’s argument that her experts need not rule out alternative causes is based on cases interpreting the
substantial factor test and principles of comparative negligence that predate Daubert and address plaintiffs’
substantive law burden on causation, not admissibility under Daubert. Pl. Opp. Br. at 8. Daubert is an initial
threshold inquiry to determine whether an expert’s methodology is reliable and admissible. Def. Br. at 4−5.
Whether a plaintiff has proven that the suspected cause was a substantial factor in his injury is a separate,
subsequent inquiry. See generally, Sutera v. Perrier Group of Am. Inc., 986 F. Supp. 655 (D. Mass. 1997) (applying
Daubert to exclude unreliable expert and then applying the substantial factor test to grant defendant’s motion for
summary judgment). None of the authority cited by plaintiff suggests that plaintiff’s substantive law burden on
causation should lower—let alone abrogate—plaintiff’s burden to demonstrate admissibility of her expert’s opinions
under Daubert and Rule 702. Accord In Re Paoli R.R. Yard PCB Litig., 35 F. 3d 717 ,760 n.31 (3d Cir. 1994).
Plaintiff’s citation to Lancaster v. Montesi is particularly unavailing because that case held that the decedent’s
volitional decision to commit suicide acts as superseding cause, breaking the chain of liability, unless the decedent
suffered an insane frenzy. 390 S.W.2d 217, 221−22 (Tenn. 1965). Of course, none of plaintiff’s experts suggested
that Mr. Smith suffered from an insane frenzy at the time of his death. See, e.g., Pl. Opp. Br. at 15 (“. . . there was
evidence . . . which demonstrates that following his ingestion of gabapentin his mental state was altered, but not
psychotic” or a “recognizable psychiatric disorder as would be classified by DSM IV”). Thus, if plaintiff’s
substantive law burden were applied, it would only further support her experts’ exclusion.



                                                        -7-
         Case 1:04-cv-10981-PBS Document 1713 Filed 03/12/09 Page 8 of 19




Smith’s suicide. In addition, unlike the expert in Baker, Dr. Maris and Professor Trimble have

not attributed the decedent’s injury to its most common cause generally, id. at 252; instead, they

have picked Neurontin over numerous more common and recognized causes of suicide without

any scientific basis. Nor have Dr. Maris and Professor Trimble identified anything unique about

Mr. Smith’s suicide that caused them to attribute it to Neurontin, as opposed to other factors,

which was present in Baker.7 This case, and many others,8 demonstrates that plaintiff’s experts’

failure to rule out obvious and likely alternative causes renders their methodology and opinions

unreliable and inadmissible.


         Nor is this case any different simply because it involves suicide or because suicide has

multiple risk factors, as plaintiff tries to argue, relying on Giles v. Wyeth, 500 F. Supp. 2d 1048

(S.D. Ill. 2007).9 Plaintiff’s reliance on Giles only bolsters defendants’ argument that Dr. Maris

has applied his method unreliably in this case. At his deposition in the Bulger case, Dr. Maris

7
 The expert in Baker testified that “Baker’s specific medical injuries from PID [pelvic inflammatory disease] were
consistent with damages caused by Chlamydia,” and did not have the physical appearance of “the acute kind [of
PID] caused by gonorrhea.” Baker, 156 F.3d at 252.
8
  Plaintiff overstates Paoli, 35 F.3d at 760, which, while it does state that an expert need not always rule out all
alternative causes with certainty, went on to affirm the exclusion of several experts. It found that in cases where the
defendants point to some likely alternative cause, an expert should be excluded who does not engage in standard
diagnostic techniques ruling out alternative causes and who cannot offer a reasonable explanation for still believing
the defendants’ actions were a substantial factor in comparison. Id.

Other cases cited by plaintiffs are distinguishable. See Annello v. Shaw Indus., Inc., No. 95-30234-FHF, 2000 U.S.
Dist. LEXIS 6835, *13 (D. Mass. Mar. 31, 2000) and Goebel v. Denver & Rio Grande W. R.R. Co., 346 F.3d 987,
989 (10th Cir. 2003). In the former, unlike Dr. Maris and Professor Trimble, the expert discredited other potential
causes. Dr. Maris and Professor Trimble, in contrast, admit that they cannot discredit a multitude of other possible
causal factors in Mr. Smith’s suicide. Pl. Opp. Br. at 5; Def. Br. at 6 (Maris), 18 (Trimble). In the later case, the
expert simply had not explicitly ruled out depression and testified that the plaintiff’s symptoms were “classic” of
acute mountain sickness and high altitude cerebral edema, Goebel, 346 F.3d at 998, a distinction that lends further
support to the requirement that plaintiff’s experts identify some hallmark of an alleged Neurontin-induced suicide
that differentiates it from other risk factors. Neither expert can identify any such generally accepted “classic”
symptoms or appearances of a “Neurontin-induced” suicide.
9
  Plaintiff also cites dicta from Smith v. Pfizer, No. CIV.A. 98-4156-CM, 2001 U.S. Dist. LEXIS 12983, at 1−2 (D.
Kan. Aug. 14, 2001), and fails to point out that in this case, the court excluded plaintiff’s experts’ general causation
opinion as unreliable, found plaintiff’s expert had ruled out alcoholism as a cause, and granted summary judgment in
favor of the defendants.


                                                         -8-
         Case 1:04-cv-10981-PBS Document 1713 Filed 03/12/09 Page 9 of 19




was asked to explain how he ruled out Mrs. Bulger’s use of Effexor as the “scale-tipper” for her

suicide (she had been taking Effexor and numerous prescription and street drugs at the time of

her suicide), when he opined in Giles that Effexor was the “scale-tipper” and “just-noticeable

difference maker” for the suicide in that case. McGroder Decl., Ex. 1 at 913:16−918:16. Not

seeming to understand that he was being asked about his methodology, Dr. Maris disavowed his

opinion in Giles—testifying that the Giles jury rejected it as “wrong” when they entered a

defense verdict—yet another example of how his methodology is unreliable and litigation-

driven.10 Id.


         Furthermore, Giles is an outlier. The differential diagnosis method is always used in

cases where the injury has multiple potential causes—otherwise it would not be needed—and

many injuries besides suicide involve the interplay of multiple risk factors.11 Other courts have

excluded experts’ opinions as unreliable where the expert failed to rule out alternative causes of

the decedent’s suicide, such as a plaintiff’s self-destructive behavior and psychological

problems. Haggerty v. Upjohn, 950 F. Supp. 1160, 1166−67 (S.D. Fla. 1996) (excluding expert’s

specific causation opinion that drug caused violence as unreliable); Cloud, 198 F. Supp. 2d at

1135-37 (excluding expert’s specific causation opinion that drug caused suicide as unreliable);




10
   Plaintiff’s opposition likewise ignores defendants’ challenge to the litigation-driven nature of plaintiff’s experts’
inquiry, namely, the marshaling of facts to pre-ordained conclusions, which defendants demonstrated by the errors
in Dr. Maris’ psychological autopsy and report, Def. Br. at 11−12, his use of verbatim legal metaphors across every
prescription drug case in which he has ever testified, id. at 5 n.2, and Professor Trimble’s ad hoc dismissal of
evidence and risk factors as he considered them for the first time. Plaintiff’s experts should be excluded as unreliable
on this basis alone. Def. Br. at 5 n.2 (citing Cloud, 198 F. Supp. 2d at 1135 and Claar, 29 F.3d at 502−03).
11
  For example, Nat’l Bank of Commerce v. Dow, 965 F. Supp. 1490, 1513−14 (E.D. Ark. 1996), which plaintiff has
yet to address, dealt with colon cancer and the court explicitly explained that one problem with the reliability of the
expert’s method was that colon cancer has multiple risk factors, some of which the expert could not rule out with
certainty. Def. Br. at 6−7. The fact that colon cancer has multiple risk factors did not excuse the expert from the
requirement that he rule out alternative possible causes. Id.



                                                         -9-
        Case 1:04-cv-10981-PBS Document 1713 Filed 03/12/09 Page 10 of 19




Miller, 196 F. Supp. 2d at 1085-86 (same); Blanchard v. Eli Lilly, 207 F. Supp. 2d 308, 320 (D.

Vt. 2002) (same).12


II.     THE SOLE BASIS FOR PLAINTIFF’S EXPERTS’ OPINION IS TEMPORALITY

        Failing to apply the differential diagnosis methodology properly, or otherwise failing to

rule out alternative causes of Mr. Smith’s suicide, plaintiff’s experts’ “method” boils down to

nothing more than temporality, i.e., because Mr. Smith committed suicide, and because Mr.

Smith took Neurontin, Neurontin must have caused his suicide. This reliance on temporality has

been rejected by this Court (and others) because it suffers from the logical fallacy of post hoc

ergo propter hoc and is yet another basis for excluding plaintiff’s experts’ testimony. Whiting v.

Boston, 891 F. Supp. 12, 23 n.52 (D. Mass. 1995); Def. Br. at 7−8 (citing, e.g., McClain v.

Metabolife, 401 F.3d 1233, 1243 (11th Cir. 2005)).


        Although plaintiff claims, on the one hand, that her experts did not rely on pure

temporality, see, e.g., Pl. Opp. Br. at 11−13 (Dr. Maris); Id. at 20 (Professor Trimble), on the

other hand, plaintiff argues—contrary to established precedent—that it is permissible to do so.13

Despite plaintiff’s waffling, there is no getting around the fact that post hoc ergo propter hoc is

plaintiff’s experts only support. Def. Br. at 8. Plaintiff’s experts’ sole basis for opining that

Neurontin, as compared to all of Mr. Smith’s alternative risk factors (that fully explain his


12
   See also Latiolais v. Merck Co., No. CV 06-02208 MRP (JTLx), 2007 WL 5861354, *4 n.2 (C.D. Cal. Feb. 6,
2007) (“To that end, Dr. Golomb also did not perform any differential analysis in order to rule out potential
alternative causes of Decedent’s suicide, such as Decedent’s preexisting mental health or job stress or the fact that
Decedent was taking sleeping medication near the time of his suicide . . .”).
13
  Plaintiff suggests that permitting an expert to rely on temporality is the “modern trend,” see Pl. Opp. Br. at 12
n.14 (citing Zuchowicz v. U.S., 140 F.3d 381, 389 (2d Cir. 1998)), but plaintiff leaves out that this portion of the
opinion is discussing whether plaintiff had met the substantive law burden of proof on causation after the court had
conducted its separate Daubert/reliability inquiry, see id. at 386−88, and that the experts at issue provided direct
evidence of a causal relationship, not just temporality alone. Id. at 391.



                                                       - 10 -
        Case 1:04-cv-10981-PBS Document 1713 Filed 03/12/09 Page 11 of 19




suicide), was the proximate, substantial causal factor is that this time, unlike the other times he

talked about committing suicide, he was on Neurontin. For example, Dr. Maris opines that,

notwithstanding Mr. Smith’s pre-existing risk factors (which he did not fully investigate), he did

not kill himself earlier, but merely thought and talked about it multiple times. So he asks, “why

now?” see id. at 8−9, and his answer is Neurontin.14 Dr. Maris’ “coping” theory (i.e., that Mr.

Smith was “coping” until he took Neurontin, so Neurontin must have caused his suicide) is

another variation of the same fallacy. Id. at 8.

         Likewise, plaintiff’s experts also opine that because Mr. Smith experienced “dramatic

changes,” Pl. Opp. Br. at 4 (Dr. Maris), and exhibited an “altered mental state,” id. at 17, 20

(Professor Trimble) after he began taking Neurontin—simultaneously ignoring that those

symptoms had been worse when he was not taking Neurontin15—it must be because of

Neurontin. Again plaintiff’s experts resort to temporality as the lone basis for their opinion. See

Pl. Opp. Br. at 12. Setting aside the absence of any factual or scientific evidence for the

proposition that Neurontin made his condition worse, the flaw in their opinion is also that it is

solely based on temporality. Plaintiff’s experts made no effort to rule out other causes for his

alleged symptoms (e.g., feeling “loopy”), such as depression, chronic pain and resulting




14
   Notably, outside of litigation, Dr. Maris applies a different methodology, asking instead: “what was the decedent
trying to escape?” Plaintiff ignores that the only reason for Dr. Maris to change his inquiry in this litigation and ask
“why now?” is because asking what the decedent was trying to escape would point to other fully explanatory and
obvious risk factors—especially in this case where Mr. Smith himself states he is trying to get away from the pain.
Def. Br. at 3 (quoting Mr. Smith’s suicide note: “Pain has taken over my mind and body! I need back surgery, left
and right rotator cuffs, right bicep torn, back surgery to correct pain in legs. . . .”) (original emphasis). Compare Def.
Br. at 8 n.8 with Pl. Opp. Br. at 11−13.
15
  In making this and other arguments, plaintiff devotes much of his opposition to general causation. Plaintiff’s
experts’ general causation opinions are subject to a separate challenge pending before this Court. Plaintiff’s experts
must also apply a reliable scientific method to the facts of this case for their specific causation opinions to be
admissible, independent of any ruling on the issue of general causation.



                                                         - 11 -
        Case 1:04-cv-10981-PBS Document 1713 Filed 03/12/09 Page 12 of 19




sleeplessness, pain medications, and dementia, to name a few.16 In addition, the experts cherry-

picked evidence attempting to demonstrate a temporal relationship between Mr. Smith’s alleged

ingestion of Neurontin and his alleged altered mental state. For instance, Professor Trimble

ignores the fact that (1) Mr. Smith stated he wished he could die because of pain and lack of

sleep, Def. Br. at 2−3, (2) plaintiff herself stated, “I don’t know what’s wrong with Richard.

He’s in so much pain, I think he is out of his mind,” McGroder Decl., Ex. 1 at 596:17-597:2, and

(3) Mr. Smith was referred for psychological evaluation “to make sure there is not a dementia

type issue playing into this as well,” id. at 670:22−671:2—all well before he was prescribed

Neurontin.17 Plaintiff’s experts’ “method,” rests entirely on temporality, and should accordingly

be rejected under established precedent disavowing the post hoc ergo propter hoc fallacy as an

unreliable basis for an expert’s methodology. See Whiting, 891 F. Supp. at 23 n.52; Def. Br. at

7−8 (citing, e.g., McClain v. Metabolife, 401 F.3d 1233, 1243 (11th Cir. 2005)).18




16
  The psychological autopsy, for example, looks only at the decedent’s behavior after taking Neurontin. Def. Br.,
Sayler Decl. Ex. 16 at 19 (“Here the interviewer should discover and record any neurological, behavioral, physical,
or attitudinal changes that occurred after the ingestion of NEURONTIN”) (original emphasis). Plaintiff’s experts
point to Mr. Smith’s medical records after taking Neurontin, when they could have just as easily and arbitrarily
pointed to records before he began taking Neurontin, except that they show that Mr. Smith’s mental state began
deteriorating much earlier.
17
   Likewise, Dr. Maris admitted that for the purposes of the psychological autopsy and his report, he relied on a
questionnaire where Mr. Smith indicated that he was depressed because of pain and lack of sleep, which was taken
well before Mr. Smith took Neurontin, McGroder Decl., Ex. 1 at 571:8-572:22. He also admitted that he did not
include in his report that Mr. Smith was depressed and anxious in May 2003; was prescribed Elavil; was diagnosed
with anxiety and depression later in May 2003; and was prescribed Lexapro and desipramine 25 milligrams. Id. at
554:13-555:8. Dr. Maris has since written those facts into his report in handwriting (Id. at 554:23-25), as he
read Professor Trimble’s deposition and looked those facts back up in Mr. Smith’s medical records. Id. at 556:2-12.
18
  In all of the cases cited by plaintiff, Heller v. Shaw Indus. Inc., 167 F.3d 146, 154 (3d Cir. 1999), Westberry v.
Gislavad Guummi AB, 178 F.3d 257, 265 (4th Cir. 1999), Zuchowicz v. U.S., 140 F.3d 381, 385−90 (2d Cir. 1998),
and Tobin v. Smithkline Beecham Pharms., 164 F. Supp. 2d 1278 (D. Wyo. 2001), the expert at issue (1) relied on
other bases, in addition to temporality, in applying his methodology and (2) the onset of the plaintiff’s injuries began
with exposure. Dr. Maris and Professor Trimble, on the other hand, admit the decedent’s risk factors were pre-
existing and offer the fallacy alone for their differentiation of Neurontin from those risk factors.



                                                        - 12 -
        Case 1:04-cv-10981-PBS Document 1713 Filed 03/12/09 Page 13 of 19




III.     PLAINTIFF’S EXPERTS HAVE NO RELIABLE BASIS TO DIFFERENTIATE A
         SUICIDE CAUSED BY NEURONTIN FROM A SUICIDE CAUSED BY PRE-
         EXISTING RISK FACTORS

         Ultimately, plaintiff’s experts’ failure to rule out alternative causes of the decedent’s

suicide leaves them with no reliable basis—other than subjective belief and speculation—for

differentiating Neurontin from Mr. Smith’s extensive list of pre-existing risk factors for suicide.

Plaintiff’s experts acknowledge that suicide occurs in the general population, and in rates higher

than the general population for individuals like Mr. Smith with co-morbid depression, chronic

pain, and a history of suicidal ideation,19 and they opine that not every patient who commits

suicide while on Neurontin does so because of Neurontin.20 In this context, plaintiff’s experts

must either rule out alternative risk factors or point to symptoms that one would not expect to

find in any other suicide case that would allow them to distinguish Neurontin (on the basis of

something other than speculation) from the well-known risk factors that fully explain Mr.

Smith’s suicide. Def. Br. at 6−7; See Nat’l Bank of Commerce v. Dow, 965 F. Supp. at 1513−14,

Baker, 156 F.3d at 253; Goebel, 346 F.3d at 989. Plaintiff’s experts admit that they have done

neither.21 Moreover, plaintiff’s response to defendants’ argument is limited to one conclusory

footnote relying on the self-serving declaration of Dr. Maris that a “hallmark” is not necessary;

this is the epitome of ipse dixit. Pl. Opp. Br. at 10 n.11.




19
   The lifetime rate of suicide is 1 in 10,000 in the general population; that rate is higher in the population with
conditions for which Neurontin is prescribed; suicide is difficult to predict, and is often the result of unknown
causes. See Def. Br. at 1 (background on suicide).
21
  In this litigation, Dr. Maris readily admits he cannot identify a hallmark, Pl. Opp. Br. at 10 n.11, while Professor
Trimble purports to identify as a hallmark that Neurontin-induced suicides are evidenced by “changes of brain
chemistry” that lead to impulsive suicidal acts. Id. at 19−20; McGroder Decl., Ex. 2 at 6. However, Professor
Trimble has not shown that Mr. Smith’s brain chemistry was altered by Neurontin—admitting he does not know
what Mr. Smith’s active serotonin or GABA levels were at the time of his suicide, McGroder Decl., Ex. 3 at
268:14−270:4—and was unaware of evidence that undermines his impulsivity theory, like the fact that Mr. Smith
planned his suicide, including laying out a plastic sheet on the bed before committing suicide. Id. at 504:16-25.


                                                       - 13 -
       Case 1:04-cv-10981-PBS Document 1713 Filed 03/12/09 Page 14 of 19




           Stripped of semantics, plaintiff’s experts’ opinions about the role of Neurontin in Mr.

Smith’s suicide amount to subjective belief and inadmissible speculation that would not help a

jury. See Whiting, 891 F. Supp. at 25; Haggerty, 950 F. Supp. at 1167. Plaintiff asks this Court

to admit her experts’ testimony based solely on the assumption that because Mr. Smith took

Neurontin, his suicide was caused by Neurontin. Yet, plaintiff’s experts have failed to follow

any generally accepted reliable methodology for determining specific causation, and Dr. Maris

asserts that he should be excused from doing so. Nor have the experts otherwise explained why

Mr. Smith’s suicide was caused by Neurontin rather than his numerous pre-existing suicide risk

factors.        Plaintiff instead asks the Court to take her experts word for it because they are

“qualified.” The Court need not and should not admit these opinions on the ipse dixit of the

experts. See Gen. Elec. Co. v. Joiner, 522 U.S. 136, 146 (1997).


IV.        EVEN APART FROM DR. MARIS’ FAILURE TO CONDUCT A PROPER
           DIFFERENTIAL DIAGNOSIS, HE APPLIED HIS METHODS UNRELIABLY

           Plaintiff’s opposition attempts to resurrect Dr. Maris’ testimony by claiming that he used

methods other than differential diagnosis that are generally acceptable, such as the psychological

autopsy methodology. Plaintiff’s contention that these methods are generally reliable misses the

mark. Defendants do not contend that the psychological autopsy is never reliable, but instead,

that Dr. Maris has unreliably applied this method to the facts of this case. See Def. Br. at 9−10.


           A.       Dr. Maris Uses His Suicide Chart Unreliably.

           As an initial matter, and contrary to plaintiff’s opposition, e.g. Pl. Opp. Br. at 3,

defendants have challenged Dr. Maris’ qualification to opine on general causation, largely on the

basis of his own repeated admissions that he is “not competent” to offer an opinion on

Neurontin’s mechanism of action and relies entirely on plaintiff’s other experts for his general



                                                 - 14 -
        Case 1:04-cv-10981-PBS Document 1713 Filed 03/12/09 Page 15 of 19




causation opinion. Def. Br. at 13. Dr. Maris’ repeated statements under oath that he is not

qualified are alone a sufficient basis to disqualify him from offering general causation opinions

in this case.


         Moreover, plaintiff essentially concedes the unreliability of Dr. Maris’ self-described

“general causation model” (his suicide chart) by defending it in half a footnote. Pl. Opp. Br. at 6

n.6. Further, plaintiff does not dispute that the chart was not timely disclosed, and has never

been “generally accepted” as it is offered in this case. Contrary to plaintiff’s blanket assertion,

id., Dr. Maris’ suicide chart does not appear in any peer-reviewed publication in its present form;

the published version of the model does not show or even suggest that medication is a suicide

“trigger,” but instead shows medication as a protective factor. Dr. Maris’ version of the chart

presented in this case is an unscientific and litigation-driven attempt to retrofit the model to his

causation opinion for purposes of testifying for plaintiffs in Neurontin litigation. Def. Br. at 14.


         B.       Dr. Maris Applies the Psychological Autopsy Method Unreliably.

         Plaintiff puts up a straw man arguing that the psychological autopsy method is generally

reliable. Pl. Opp. Br. at 6. It is Dr. Maris’ unreliable application of the psychological autopsy

methods to the facts of this case that render his opinion inadmissible.22 Indeed, Dr. Maris failed

to follow his own methodological standards for use of a psychological autopsy outside the

courtroom, infecting his analysis here with mistakes and biases. Def. Br. at 9−13. For example,


22
   Plaintiff’s cited cases provide further support for defendants’ argument that regardless of the reliability of the
psychological autopsy generally, the court properly excludes experts who unreliably apply that method to the facts
of the case. See Cloud, 198 F. Supp. 2d at 1135; Blanchard, 207 F. Supp. 2d at 320; Miller, 196 F. Supp. 2d at 1068
(notably plaintiff cites the earlier Miller v. Pfizer, No. 99-2326, 199 U.S. Dist. LEXIS 18345 (D. Kan. Nov. 10,
1999)) (all three cases excluding the plaintiffs’ proffered experts who used psychological autopsies as unreliable and
inadmissible on the issue of specific causation, and granting summary judgment in favor of the defendants on the
issue of causation). Herrin v. Treon, 459 F. Supp. 2d 525, 530 (N.D. Tex. 2006) and Yanco v. U.S., 45 Fed. Cl. 782,
794−95 (Fed. Cl. 2000) are inapposite. Neither court even discussed the reliability of the psychological autopsy
method.


                                                       - 15 -
        Case 1:04-cv-10981-PBS Document 1713 Filed 03/12/09 Page 16 of 19




despite previously insisting that the psychological autopsy be conducted by a qualified

suicidologist or other appropriate healthcare official, and centered on face-to-face interviews of

two to three people with knowledge, Dr. Maris merely relied on a paid employee of plaintiff’s

law firm to conduct the “psychological autopsy” in this case, disregarding all of the steps that

help ensure reliability, such as interviews of family members. Id. at 11. Plaintiff’s only response

to this argument is that it is permissible to use plaintiff’s counsel as a source of information.23

Pl. Opp. Br. at 7. But defendants’ challenge is much more nuanced than plaintiff’s response. As

defendants’ motion makes clear with numerous record citations, the law firm employee did much

more than serve as a source of information; she actually conducted the psychological autopsy.24

Def. Br. at 11−13. Plaintiff’s conclusory claim (based solely on Dr. Maris’ affidavit) that Dr.

Maris followed his own “professional standards” is thus belied by the actual evidence in this

case—unless the only “professional” standards Dr. Maris has are for professional testimony in

litigation using methods he concedes he would not use in his field. As such, Dr. Maris’

testimony on the basis of the “psychological autopsy” is unreliable and inadmissible.


         Giles and Routhier, cited by plaintiff, support defendants’ argument that Dr. Maris

applied the psychological autopsy method unreliably in this case. In Routhier v Keenan, No. 04-

1359, 2008 Mass. Super. LEXIS 372, at *17 (Mass. Super. Nov. 4, 2008) and Giles, 500 F. Supp.

2d at 1063, there is no evidence that the psychological autopsy in question was conducted by a

legal assistant of a plaintiffs’ law firm. To the contrary, the Routhier court seemed to believe

that Dr. Maris himself conducted the psychological autopsy. Routhier, 2008 Mass. Super LEXIS

372, at *14. Giles is likewise distinguishable because Dr. Maris insisted on using people he

24
   Although plaintiff claims by reference to Dr. Maris’ after-the-fact declaration that Dr. Maris reviewed the
psychological autopsy carefully and made revisions to ensure that the information was “accurate and complete,” Pl.
Opp. Br. at 7, it is undisputed that the psychological autopsy, and, consequentially, Dr. Maris’ report, still contained
errors at the time of his deposition. Def. Br. at 11−12.


                                                        - 16 -
      Case 1:04-cv-10981-PBS Document 1713 Filed 03/12/09 Page 17 of 19




knew with training and suicidology backgrounds to conduct the autopsy, Def. Br. at 11, and he

interviewed the family members. Giles, 500 F. Supp. 2d at 1062.


                                        CONCLUSION

       For all of the foregoing reasons, defendants respectfully request that this Court grant their

motion to exclude the testimony of Dr. Maris and Professor Trimble.




                                              - 17 -
      Case 1:04-cv-10981-PBS Document 1713 Filed 03/12/09 Page 18 of 19




Dated: March 12, 2009              Respectfully submitted,

                                   DAVIS POLK & WARDWELL

                                   By:       /s/ James P. Rouhandeh
                                             James P. Rouhandeh

                                   450 Lexington Avenue
                                   New York, NY 10017
                                   Tel: (212) 450-4000

                                             -and-

                                   SHOOK, HARDY & BACON L.L.P.

                                   By:       /s/ Lori C. McGroder
                                             Lori C. McGroder

                                   2555 Grand Blvd.
                                   Kansas City, MO 64108-2613
                                   Tel: (816) 474-6550

                                             -and-

                                   WHITE AND WILLIAMS LLP

                                   By:       /s/ David B. Chaffin
                                             David B. Chaffin

                                   100 Summer Street, Suite 2707
                                   Boston, MA 02110
                                   Tel: (617) 748-5200

                                   Attorneys for Defendants Pfizer Inc. and
                                   Warner-Lambert Company LLC




                                    - 18 -
      Case 1:04-cv-10981-PBS Document 1713 Filed 03/12/09 Page 19 of 19




                               CERTIFICATE OF SERVICE

       I hereby certify that this document filed through the ECF system has been served
pursuant to Case Management Order #3 on March 12, 2009.


                                                      /s/ David B. Chaffin
                                                      David B. Chaffin




                                             - 19 -
